  Case 2:22-cv-00100-LGW-BWC Document 1 Filed 10/03/22 Page 1 of 16




                   IN THE UNITED STATES DISTRICT COURT

                 FOR THE SOUTHERN DISTRICT OF GEORGIA

                             BRUNSWICK DIVISION

Tammy Purvis and Scott George                        ]
as the surviving natural parents of                  ]
Neal Sheppard George, deceased &                     ]
Tammy Purvis as the representative                   ]
of the estate of Neal Sheppard George,               ]
deceased,                                            ]
                                                     ]
                    Plaintiffs,                      ] Civil Action No: CV222-100
                                                     ]
v.                                                   ] Jury Trial Demanded
                                                     ]
Conservation Forestry III, LLC;                      ]
CFC III Forest Holdings, LLC;                        ]
CFC III, LLC;                                        ]
Conservation Forestry Capital III, L.P.;             ]
American Forestry Management, Inc. &                 ]
American Forestry Management, Inc. (South Carolina), ]
                                                     ]
                    Defendants.                      ]

                   PLAINTIFFS’ COMPLAINT FOR DAMAGES

COME NOW, the above-referenced Plaintiffs and file this Complaint for Damages against

the above-referenced Defendants and show this honorable Court upon present information

and belief as follows:




                                          1
     Case 2:22-cv-00100-LGW-BWC Document 1 Filed 10/03/22 Page 2 of 16




                               Parties, Jurisdiction & Venue

1.      Plaintiffs Tammy Purvis and Scott George are the surviving natural parents of Neal

        Sheppard George, deceased. As such, Plaintiffs are the proper parties in interest to

        bring the survivors’ wrongful death claim against Defendants for the death of their

        deceased son, Neal Sheppard George. Plaintiffs Tammy Purvis and Scott George

        personally submit to the jurisdiction of this Court for the purpose of resolving the

        above-captioned matter. At the time of his death, Neal Sheppard George was a

        resident of Glynn County, Georgia. At all times material to the allegations of this

        Complaint for Damages, Plaintiff Tammy Purvis was (and is) a resident of Glynn

        County, Georgia who personally submits herself to the jurisdiction of this Court for

        purposes of pursuing the above-captioned matter and the Court has personal

        diversity jurisdiction over said Plaintiff under 28 U.S.C. § 1332. At all times

        material to the allegations of this Complaint for Damages, Plaintiff Scott George

        was (and is) a resident of Chatham County, Georgia who personally submits

        himself to the jurisdiction of this Court for purposes of pursuing the above-

        captioned matter and the Court has personal diversity jurisdiction over said Plaintiff

        under 28 U.S.C. § 1332.




                                              2
     Case 2:22-cv-00100-LGW-BWC Document 1 Filed 10/03/22 Page 3 of 16




2.      Plaintiff Tammy Purvis is the representative of the estate of Neal Sheppard George

        as appointed by the Probate Court of Glynn County, Georgia. As such, Tammy

        Purvis is the proper party in interest to bring the personal injury and wrongful death

        estate claims against Defendants. The estate of Neal Sheppard George, sprung into

        existence in Glynn County, Georgia upon the death of Neal Sheppard George, and

        its personal representative, Tammy Purvis, personally submits to the jurisdiction of

        this Court for purposes of pursuing the above-captioned matter. Accordingly, the

        Court has personal diversity jurisdiction over said Plaintiff under 28 U.S.C. § 1332.

3.      Defendant Conservation Forestry III, LLC is a foreign business entity (with its

        principal place of business in Delaware) which, at the time Plaintiffs’ claims arose,

        committed a tort in the state of Georgia by and through its employees, agents and

        representatives while engaged in interstate commerce.              More specifically,

        Defendant’s     acts/omissions      (to       wit,   the   negligent      and   reckless

        maintenance/management of land situated adjacent to a public right-of-way in

        Glynn County, Georgia) ultimately caused the death of Neal Sheppard George. As

        such, said Defendant is a non-resident tortfeasor which, under O.C.G.A. § 9-10-91

        (Georgia Long-Arm statute) and 28 U.S.C. § 1332 (diversity of citizenship

        jurisdiction), is personally subject to the jurisdiction of this Court.

4.      Defendant CFC III Forest Holdings, LLC is a foreign business entity (with its

        principal place of business in Delaware) which, at the time Plaintiffs’ claims arose,

        committed a tort in the state of Georgia by and through its employees, agents and

        representatives while engaged in interstate commerce.              More specifically,

        Defendant’s     acts/omissions      (to       wit,   the   negligent      and   reckless



                                                  3
     Case 2:22-cv-00100-LGW-BWC Document 1 Filed 10/03/22 Page 4 of 16




        maintenance/management of land situated adjacent to a public right-of-way in

        Glynn County, Georgia) ultimately caused the death of Neal Sheppard George. As

        such, said Defendant is a non-resident tortfeasor which, under O.C.G.A. § 9-10-91

        (Georgia Long-Arm statute) and 28 U.S.C. § 1332 (diversity of citizenship

        jurisdiction), is personally subject to the jurisdiction of this Court.

5.      Defendant CFC III, LLC is a foreign business entity (with its principal place of

        business in Delaware) which, at the time Plaintiffs’ claims arose, committed a tort

        in the state of Georgia by and through its employees, agents and representatives

        while engaged in interstate commerce.               More specifically, Defendant’s

        acts/omissions (to wit, the negligent and reckless maintenance/management of land

        situated adjacent to a public right-of-way in Glynn County, Georgia) ultimately

        caused the death of Neal Sheppard George. As such, said Defendant is a non-

        resident tortfeasor which, under O.C.G.A. § 9-10-91 (Georgia Long-Arm statute)

        and 28 U.S.C. § 1332 (diversity of citizenship jurisdiction), is personally subject to

        the jurisdiction of this Court.

6.      Defendant Conservation Forestry Capital III, L.P. is a foreign business entity

        (with its principal place of business in Delaware) which, at the time Plaintiffs’

        claims arose, committed a tort in the state of Georgia by and through its employees,

        agents and representatives while engaged in interstate commerce.                More

        specifically, Defendant’s acts/omissions (to wit, the negligent and reckless

        maintenance/management of land situated adjacent to a public right-of-way in

        Glynn County, Georgia) ultimately caused the death of Neal Sheppard George. As

        such, said Defendant is a non-resident tortfeasor which, under O.C.G.A. § 9-10-91



                                               4
     Case 2:22-cv-00100-LGW-BWC Document 1 Filed 10/03/22 Page 5 of 16




        (Georgia Long-Arm statute) and 28 U.S.C. § 1332 (diversity of citizenship

        jurisdiction), is personally subject to the jurisdiction of this Court.

7.      Defendant American Forestry Management, Inc. is a foreign business entity

        (with its principal place of business in South Carolina) which, at the time Plaintiffs’

        claims arose, committed a tort in the state of Georgia by and through its employees,

        agents and representatives while engaged in interstate commerce.                 More

        specifically, Defendant’s acts/omissions (to wit, the negligent and reckless

        maintenance/management of land situated adjacent to a public right-of-way in

        Glynn County, Georgia) ultimately caused the death of Neal Sheppard George. As

        such, said Defendant is a non-resident tortfeasor which, under O.C.G.A. § 9-10-91

        (Georgia Long-Arm statute) and 28 U.S.C. § 1332 (diversity of citizenship

        jurisdiction), is personally subject to the jurisdiction of this Court.

8.      Defendant American Forestry Management, Inc. (South Carolina) is a foreign

        business entity (with its principal place of business in South Carolina) which, at the

        time Plaintiffs’ claims arose, committed a tort in the state of Georgia by and through

        its employees, agents and representatives while engaged in interstate commerce.

        More specifically, Defendant’s acts/omissions (to wit, the negligent and reckless

        maintenance/management of land situated adjacent to a public right-of-way in

        Glynn County, Georgia) ultimately caused the death of Neal Sheppard George. As

        such, said Defendant is a non-resident tortfeasor which, under O.C.G.A. § 9-10-91

        (Georgia Long-Arm statute) and 28 U.S.C. § 1332 (diversity of citizenship

        jurisdiction), is personally subject to the jurisdiction of this Court.




                                               5
     Case 2:22-cv-00100-LGW-BWC Document 1 Filed 10/03/22 Page 6 of 16




9.      This action sounds in tort related to the personal injury/wrongful death and damages

        sustained by the respective Plaintiffs and the obligations imposed upon the

        respective Defendants. The amount in controversy exceeds the sum or value of

        $75,000.00, exclusive of interest and costs, and is between citizens of different

        states, therefore this Court has original jurisdiction over the action’s subject matter.

10.     Venue is properly laid in the Southern District Court of Georgia, Brunswick

        Division under Local Rule 2.1 as to the non-resident Defendants because a

        substantial part of the events and omissions complained of occurred in the

        Brunswick Division containing the city/county (Brunswick/Glynn) in which the

        claims arose. Further, (1) decedent Neal Sheppard George was a resident of Glynn

        County, Georgia at the time of his death, (2) Neal Sheppard George’s estate sprung

        into existence in Glynn County, Georgia at the time of his death and has been

        established in the Glynn County, Georgia Probate Court, (3) Neal Sheppard

        George’s surviving mother is a resident of Glynn County, Georgia and (4) the real

        estate involved in the death of Neal Sheppard George is located in Glynn County,

        Georgia.




                                               6
  Case 2:22-cv-00100-LGW-BWC Document 1 Filed 10/03/22 Page 7 of 16




            Facts giving rise to Plaintiffs’ Complaint for Damages

11.   Three Steps Forest, LLC is a company which owns over 2,500 acres of tree-covered

      land in Glynn County, Georgia.

12.   Much of Three Steps Forest, LLC’s tree-covered land in Glynn County, Georgia is

      adjacent to the county’s public roadways utilized by the motoring public.

13.   Three Steps Forest, LLC is in the business of locating, assessing and purchasing

      tree-covered land and then making money from the purchase of the land.

14.   In this regard, Three Steps Forest, LLC is an expert in the acquisition and

      inspection, occupation, utilization, management and/or maintenance of its tree-

      covered land investments.

15.   In conjunction the ownership, acquisition, inspection, occupation, utilization,

      management or maintenance of its tree-covered land investments, Three Steps

      Forest, LLC has various business affiliations which have an interest in and an effect

      on its operations.

16.   Defendant Conservation Forestry III, LLC (an entity formed in Delaware) is Three

      Steps Forest, LLC’s manager.

17.   Defendant CFC III Forest Holdings, LLC (an entity formed in Delaware) is Three

      Steps Forest, LLC’s sole owner.

18.   Defendant CFC III, LLC (an entity formed in Delaware) is CFC III Forest Holdings,

      LLC’s sole owner.

19.   Defendant Conservation Forestry Capital III, L.P. is CFC III, LLC’s sole owner.




                                           7
  Case 2:22-cv-00100-LGW-BWC Document 1 Filed 10/03/22 Page 8 of 16




20.   A large parcel of Three Steps Forest, LLC’s valuable tree-covered land in Glynn

      County, Georgia is adjacent to Old Jesup Road, a public roadway located in and

      owned by Glynn County, Georgia.

21.   Defendants American Forestry Management, Inc. and/or American Forestry

      Management, Inc. (South Carolina) are the entities hired by Three Steps Forest,

      LLC (and/or its business affiliates – i.e., the other Defendants named herein) to

      inspect and manage this land (particularly with regard to its trees) in Glynn County,

      Georgia.

22.   Prior and up to October 12, 2020, Three Steps Forest, LLC (and its affiliated

      entities) - directly and by and through its employees/agents (to include Defendants

      American Forestry Management, Inc. and/or American Forestry Management, Inc.

      (South Carolina) - had a duty to safely maintain the land adjacent to Old Jesup Road

      in Glynn County, Georgia (near its intersection with Burnt Island Road). This

      included abating any nuisance the trees on Three Steps Forest, LLC’s land

      presented to the motoring public on the public right-of-way.




                                           8
    Case 2:22-cv-00100-LGW-BWC Document 1 Filed 10/03/22 Page 9 of 16




23.    Prior and up to October 12, 2020, two (2) of Three Steps Forest, LLC’s large trees

       were perilously permitted to exist upon the land beside and the space above the

       public roadway and the shoulder of the roadway on Old Jesup Road in Glynn

       County, Georgia (near its intersection with Burnt Island Road) in a manner which

       constituted a nuisance which recklessly threatened the safety of the motoring public

       on said public right-of-way.1

24.    On or about October 12, 2020 at or about 1:55 a.m., Neal Sheppard George was

       driving his Chevrolet truck northbound on Old Jesup Road (near its intersection

       with Burnt Island Road) in Glynn County, Georgia when two (2) of Three Steps

       Forest, LLC’s trees fell on his motor vehicle and fatally injured him.2

25.    In addition to the two (2) large trees which killed Neal Sheppard George, many

       trees up and down Three Steps Forest, LLC’s tree-covered land routinely (before

       and since Mr. George’s death) lean over, fall into and then obstruct the roadways

       in Glynn County, Georgia requiring removal by private citizens and/or the Glynn

       County Public Works Department.




1
  For several months prior to the death of Neal Sheppard George, Defendants Conservation
Forestry III, LLC, CFC III Forest Holdings, LLC, CFC III, LLC and Conservation Forestry
Capital III, L.P. by and through Three Steps Forest, LLC and its employees/agents (to
include Defendants American Forestry Management, Inc. and/or American Forestry
Management, Inc. (South Carolina)) - had at least constructive (if not actual) knowledge
of the impending danger posed by the precariously leaning trees, rooted in wet and unfirm
swampy ground. See, the Affidavit of Jonathan Albert Medlock, attached hereto as,
“Exhibit 1”.
2
   See, pictures of the decedent’s vehicle under Defendants’ trees attached hereto as,
“Exhibit 2”. This condition, caused by the careless, reckless conduct of the Defendants,
constituted a nuisance under Georgia law (codified at O.C.G.A. § 41-1-1, et. seq.) as well
as negligence per se (as proscribed by O.C.G.A. §§ 32-6-1 and 32-6-51) when the trees fell
on the public right-of-way upon which Neal Sheppard George, like all Glynn County
motorists, was entitled to travel without obstruction.
                                            9
 Case 2:22-cv-00100-LGW-BWC Document 1 Filed 10/03/22 Page 10 of 16




                                     Causes of Action

                                       Count #1
      Defendants Conservation Forestry III, LLC’s, CFC III Forest Holdings, LLC’s,
               CFC III, LLC’s and Conservation Forestry Capital III, L.P.’s
        Liability for Neal Sheppard George’s Personal Injury and Wrongful Death

26.     As the owners of and controlling entities of Three Steps Forest, LLC, Defendants

        Conservation Forestry III, LLC, CFC III Forest Holdings, LLC, CFC III, LLC and

        Conservation Forestry Capital III, L.P. are responsible and liable for Neal Sheppard

        George’s wrongful death (and the personal injury he endured immediately prior to

        his death) on the bases said Defendants, by and through Three Steps Forest, LLC

        and its employees/agents (to include Defendants American Forestry Management,

        Inc. and/or American Forestry Management, Inc. (South Carolina)):

         carelessly, recklessly and routinely fail to monitor and maintain the property

           adjacent to the public right-of-way such that dangerous conditions (to wit,

           leaning and foreseeably falling trees and fallen trees) are permitted to exist and

           imperil the motoring public in Glynn County, Georgia (to include decedent,

           Neal Sheppard George);

         carelessly, recklessly and routinely fail to abate the nuisance maintained (to wit,

           leaning and foreseeably falling trees and fallen trees) which imperils the

           motoring public in Glynn County, Georgia (to include decedent, Neal Sheppard

           George);

         carelessly, recklessly and routinely fail to warn the public of the dangerous

           conditions permitted to exist upon the property adjacent to the public right-of-

           way (to wit, leaning and foreseeably falling trees and fallen trees) which imperil




                                             10
Case 2:22-cv-00100-LGW-BWC Document 1 Filed 10/03/22 Page 11 of 16




       the motoring public in Glynn County, Georgia (to include decedent, Neal

       Sheppard George); and

     were negligent per se in that Defendants’ trees unlawfully obstructed the public

       roadway and presented a hazard to the traveling public (to include decedent,

       Neal Sheppard George) in direct violation of O.C.G.A. §§ 32-6-1 and 32-6-51.




                                        11
 Case 2:22-cv-00100-LGW-BWC Document 1 Filed 10/03/22 Page 12 of 16




                                     Count #2
                 Defendants American Forestry Management, Inc.’s &
               American Forestry Management, Inc. (South Carolina)’s
      Liability for Neal Sheppard George’s Personal Injury and Wrongful Death

27.   As the service providers contractually tasked with the responsibility to inspect,

      manage and maintain the land of Three Steps Forest, LLC (and its affiliated entities,

      Defendants Conservation Forestry III, LLC, CFC III Forest Holdings, LLC, CFC

      III, LLC and Conservation Forestry Capital III, L.P.) Defendants American

      Forestry Management, Inc. and/or American Forestry Management, Inc. (South

      Carolina) are responsible and liable for Neal Sheppard George’s wrongful death

      (and the personal injury he endured immediately prior to his death) on the bases

      said Defendants, by and through their employees/agents:

       carelessly, recklessly and routinely fail to monitor and maintain the property

         adjacent to the public right-of-way such that dangerous conditions (to wit,

         leaning and foreseeably falling trees and fallen trees) are permitted to exist and

         imperil the motoring public in Glynn County, Georgia (to include decedent,

         Neal Sheppard George);

       carelessly, recklessly and routinely fail to abate the nuisance maintained (to wit,

         leaning and foreseeably falling trees and fallen trees) which imperils the

         motoring public in Glynn County, Georgia (to include decedent, Neal Sheppard

         George);

       carelessly, recklessly and routinely fail to warn the public of the dangerous

         conditions permitted to exist upon the property adjacent to the public right-of-

         way (to wit, leaning and foreseeably falling trees and fallen trees) which imperil




                                           12
Case 2:22-cv-00100-LGW-BWC Document 1 Filed 10/03/22 Page 13 of 16




       the motoring public in Glynn County, Georgia (to include decedent, Neal

       Sheppard George); and

     were negligent per se in that said Defendants had a duty to inspect and manage

       the trees which unlawfully obstructed the public roadway and presented a

       hazard to the traveling public (to include decedent, Neal Sheppard George) in

       direct violation of O.C.G.A. §§ 32-6-1 and 32-6-51.




                                       13
 Case 2:22-cv-00100-LGW-BWC Document 1 Filed 10/03/22 Page 14 of 16




                                       Damages

28.   As a direct and proximate consequence of the acts and omissions of the Defendants,

      Neal Sheppard George’s life was prematurely and wrongfully ended. As a result,

      Plaintiffs have suffered substantial special and general damages for which the

      Defendants are liable.

29.   As the surviving natural parents of their late son, Plaintiffs Tammy Purvis and Scott

      George are entitled to recover an amount from the Defendants (as determined by

      the enlightened conscience of the jury hearing this case) that represents the full

      value of Neal Sheppard George’s life had it not been ended prematurely and

      wrongfully.

30.   As the representative of the estate of Neal Sheppard George, deceased, Plaintiff

      Tammy Purvis is entitled to recover an amount from the Defendants that represents,

      among other things, the estate’s costs for Neal Sheppard George’s funeral and

      burial expenses (in an amount not less than $6,621.63) and substantial pre-death

      conscious pain and suffering as determined by the enlightened conscience of the

      jury hearing this case.




                                           14
 Case 2:22-cv-00100-LGW-BWC Document 1 Filed 10/03/22 Page 15 of 16




31.   Under O.C.G.A. § 51-12-5.1, Plaintiff Tammy Purvis (as the representative of the

      estate of Neal Sheppard George) is entitled to recover punitive damages from

      Defendants in an amount to be determined by the enlightened conscience of the

      jury hearing this case on the bases the clear and convincing evidence in this matter

      reveals that Defendants’ conduct resulting in Plaintiffs’ injuries and damages

      showed willful misconduct, malice, fraud, wantonness, oppression or that entire

      want of care which would raise the presumption of conscious indifference to

      consequences (to wit, immense terror and pain and suffering) suffered by Neal

      Sheppard George immediately prior to the time of his death.

32.   Plaintiffs are entitled to recover all reasonable attorney fees and litigation costs

      incurred in this matter pursuant to O.C.G.A. §§ 9-15-14 and 13-6-11 on the bases

      Defendants have acted in bad faith, been stubbornly litigious and/or caused

      Plaintiffs unnecessary trouble and expense in forcing Plaintiffs to litigate in an

      effort to recover all damages due.




                                           15
 Case 2:22-cv-00100-LGW-BWC Document 1 Filed 10/03/22 Page 16 of 16




WHEREFORE, Plaintiffs pray:

 that this Complaint for Damages be filed and served according to law;

 that Plaintiffs recover all special, general and punitive damages allowed by law in an

   amount in excess of $10,000 as will be proven upon the trial of this action;

 that Plaintiffs recover all reasonable attorney fees, court costs and litigation expenses

   incurred in this matter pursuant to O.C.G.A. §§ 9-15-14 and 13-6-11;

 that this matter be tried by a jury of twelve (12) fair and impartial jurors; and

 such other and further relief as this honorable Court deems just and proper.

Respectfully submitted this 3rd day of October, 2022.

/s/ J. Dow III
John Albert Dow III
Georgia State Bar No: 227709
Attorney for Plaintiffs

The Dow Firm, P.C.
1901 Union Street
Brunswick, GA 31520
(912) 264-1919
jdow3@thedowfirm.com




                                             16
